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                              UNITED STATES BANKRUPTCY COURT

                               EASTERN DISTRICT OF LOUISIANA

    In re:                                              )
                                                        ) Chapter 11
    FIRST NBC BANK HOLDING COMPANY,                     )
                                                        ) Case No. 17-11213
                                                        )
                    Debtor.                             ) Section “A”
                                                        )

               DAVID W. ANDERSON’S OPPOSITION TO THE CLASSIFICATION
              PROPOSED BY SECOND AMENDED JOINT CHAPTER 11 PLAN FOR
                FIRST NBC BANK HOLDING COMPANY DATED JULY 2, 2019

             David W. Anderson (“David Anderson”), a former Chief Trust Officer, Director and Vice

   Chairman of the Board of Directors of First NBC Bank, a wholly-owned subsidiary of First NBC

   Bank Holding Company, files this hereby files objects to the classification proposed by Second

   Amended Joint Chapter 11 Plan for First NBC Bank Holding Company dated July 2, 2019 [Docket

   No. 621] (the “Debtor’s Plan”). In support of this opposition, David Anderson states as follows:

             1.     David Anderson joins in, and adopts, the Opposition to filed by William D. Aaron,

   Jr., Herbert Anderson, Dale Atkins, John C. Calhoun, Leander J. Foley, III, William Carrouche,

   John F. French, Leon Giorgio, Jr., Grish Roy Pandit, Shivan Govidan, Lawrence Blake Jones,

   Louis Lauricella, Mark Merlo, Hermann Moyse, III, James C. Roddy, Dr. Charles Teamer, Sr.,

   Joseph Toomy, and Richard M. Wilkinson [Docket No.631] (the “Classification Opposition”).

             2.     David Anderson’s proof of claim [No. 83] (the “David Anderson Claim”) was

   filed November 11, 2017, asserting an unliquidated claim for statutory and contractual indemnity.

             3.     Disallowance of a claim under Bankruptcy Code section 502(e), or subrogation

   under Bankruptcy Code section 509(c), both require that David Anderson be co-liable with the



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   Debtor on the claim of a third party creditor for which they seek to be indemnified. See 11 U.S.C.

   § 502(e)(1)(B) (“the court shall disallow any claim for reimbursement or contribution of an entity

   that is liable with the debtor on or has secured the claim of a creditor) (emphasis supplied); 11

   U.S.C. § 509(c)(“the court shall subordinate to the claim of a creditor and for the benefit of such

   creditor an allowed claim … of an entity that is liable with the debtor on … such creditor’s claim)

   (emphasis supplied).

            4.     The classification scheme creates unnecessary ambiguity in the Debtor’s Plan,

   because the Debtor cannot satisfy the requirements of Bankruptcy Code sections 502(e) or 509(c)

   regarding David Anderson’s Claim. David Anderson reserves the right to file additional briefing

   on Bankruptcy Code sections 502(e) or 509(c), in the event that this ambiguity cannot be resolved

   before the confirmation hearing.

            5.     David Anderson further reserves all rights to file subsequent objections to

   confirmation of the Debtor’s Plan based on the same or similar facts, issues, and arguments raised

   herein or in the Classification Opposition.

            WHEREFORE, for the reasons set forth herein and in the Classification Opposition,

   David W. Anderson respectfully requests that the Court (a) sustain this objection, and (b) grant

   any and all related relief to which he may be entitled.


            Dated this 9th day of July, 2019.




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                                                 Respectfully submitted,

                                                 /s/ Elizabeth J. Futrell
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                                                 Attorneys for David W. Anderson


                                    CERTIFICATE OF SERVICE

          I hereby certify that, on the 9th day of July, 2019, I electronically filed the foregoing with
   the Clerk of the Court using the ECF system which sent notification of such filing through the
   CM/ECF System to all parties identified on the court’s CM/ECF system. I further certify that I
   have sent by U.S. mail, the foregoing document to the following non-ECF participants:


    William D. Aaron, Jr.                               Jane Armstrong
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                                                            /s/ Elizabeth J. Futrell




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